825 F.2d 408Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Melvin Lee SMITH, Plaintiff-Appellant,v.Evelyn HILL; Robert W. Miller; G. E. Teachey; Benjamin F.Clifton; Douscha Rand; Lola May McCormick; GordonBattle, Defendants-Appellees.
    No. 87-7092
    United States Court of Appeals, Fourth Circuit.
    Submitted June 15, 1987.Decided July 21, 1987.
    
      Melvin Lee Smith, appellant pro se.
      Jacob Leonard Safron, Special Deputy Attorney General, for appellees Hill and Battle.
      Allan R. Gitter, Womble, Carlyle, Sandridge &amp; Rice, for appellees Miller, Teachey, Rand and McCormick.  Benjamin F. Clifton, Jr., appellee.
      Before HALL, MURNAGHAN and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Smith v. Hill, C/A No. 86-670-CRT (E.D.N.C., Feb. 23, 1987).
    
    
      2
      AFFIRMED.
    
    